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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

UNITED STATES OF AMERICA ex rel.      §
TINA HAIGHT,                          §
                                      §
                  Plaintiffs,         §
                                      §     Civil Action No. 3:16-CV1975-S
V.                                    §
                                      §
RRSA (COMMERCIAL DIVISION), LLC;      §
ROOFING & RESTORATION SERVICES OF §
AMERICA, LLC; RRSA COMMERCIAL         §
ROOFING, INC.; HAIGHT CONSTRUCTION §
MANAGEMENT SERVICES, INC.; COREY      §
S. SANCHEZ; JON R. SEYMORE;           §
JENNIFER N. SEYMORE and RONALD        §
SCOTT NICHOLS,                        §
                                      §
                  Defendants.         §
_____________________________________ §
                                      §


      DEFENDANTS RRSA (COMMERCIAL DIVISION), LLC; ROOFING &
RESTORATION SERVICES OF AMERICA, LLC; RRSA COMMERCIAL ROOFING,
  INC.; HAIGHT CONSTRUCTION MANAGEMENT SERVICES, INC.; COREY S.
 SANCHEZ; JON R. SEYMORE; JENNIFER N. SEYMORE AND RONALD SCOTT
          NICHOLS’S REPLY IN SUPPORT OF MOTION TO DISMISS
                     FIRST AMENDED COMPLAINT




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        The RRSA Defendants1 file this Reply to Relator’s Response to Defendants’ Motion to

Dismiss First Amended Complaint (“Relator’s Response”), and would respectfully show the Court

as follows.

I.      INTRODUCTION

        Stripped down, Relator’s argument is that an owner of a company, who is aware of alleged

qui tam violations, and who owns the company while the alleged qui tam violations take place,

and profits from the alleged qui tam violations, can turn around and sell the company and then

subsequently assert a qui tam claim against the new owners.2 As illogical as this may seem, there

is more. In this case, not only did the Relator own the company when the alleged violations took

place, she expressly agreed not to assert any claims against the purchasers. Permitting this action

to proceed would be a gross injustice and the Court should, therefore, grant this Motion to Dismiss.

        In Relator’s Response, she entirely ignores the undisputed fact that she owned the Business

Defendants at the time these companies were supposedly committing the alleged wrongdoings she

alleges in her First Amended Complaint. (App’x_000007-08, ¶¶29-30, Plaintiff Tina L. Haight’s

Fourth Amended Petition). Put simply, but for the sale of the Business Defendants to Corey

Sanchez, Jennifer Seymore and Jon Seymore, Relator would be the defendant in this qui tam

action. As a part of the sale of the Business Defendants, Relator released the RRSA Defendants

from the very claims asserted in her qui tam action. Despite Relator’s assertion that the validity

of the operative documents is a matter “that remain pending in other courts,” the Settlement


1
  Unless otherwise specified herein, all defined terms will have the same meaning as defined in Defendants RRSA
(Commercial Division), LLC; Roofing & Restoration Services of America, LLC; RRSA Commercial Roofing, Inc.;
Haight Construction Management Services, Inc.; Turco Construction, Inc.; Andrew’s Roofing & Restoration; Corey
S. Sanchez; Jon R. Seymore; Jennifer N. Seymore and Ronald Scott Nichols’s Motion to Dismiss First Amended
Complaint and Memorandum of Law in Support of Motion to Dismiss (Doc. 115).
2
  The RRSA Defendants vehemently deny all allegations in Plaintiff-Relator Tina Haight’s First Amended Complaint,
and any discussion contained herein related to liability for Relator’s asserted claims are merely for purposes of
illustration, and do not constitute an admission on behalf of the RRSA Defendants that liability does, in fact, exist
under any of the claims asserted in the First Amended Complaint.


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Agreement has recently been upheld as valid and enforceable by the Texas Tenth Court of Appeals,

Waco, Texas, and there is no other avenue for Relator to appeal that decision. See Haight v. Koley

Jessen PC, LLO, No. 10-18-00057-CV, 2019 WL 2479953, at *4 (Tex. App.—Waco June 12,

2019, pet. denied). As a result, Relator does not have standing as a qui tam plaintiff.

        Relator questions the timing of the RRSA Defendants’ Motion to Dismiss Relator’s First

Amended Complaint in both Relator’s Response (Doc. 132, at 5) and Relator’s Motion for

Temporary Stay (Doc. 138, at 2 ¶6). As an initial matter, standing is a jurisdictional requirement

and can be raised at any time, see Ford v. NYLCare Health Plans of Gulf Coast, Inc., 301 F.3d

329, 334 (5th Cir. 2002), the Final Mandate affirming the validity of the Release was issued on

April 7, 2020. (App’x_000001). At that time, the parties were awaiting the Court’s ruling on the

RRSA Defendants’ Motion to Dismiss the Original Complaint. The Court’s ruling was issued on

October 20, 2020, which gave Relator the right to amend her Complaint. (Doc. 80). Plaintiff’s

First Amended Complaint was filed on December 18, 2020, giving the RRSA Defendants the first

opportunity to raise the standing issue affirmed by the Texas Tenth Circuit of Appeals in April of

2020.

II.     ARGUMENT AND AUTHORITIES

        Relator acknowledges that the applicable standard to determine the enforceability of a

release executed pre-filing of a qui tam action bars subsequent qui tam claims is whether (1) the

release can be fairly interpreted to encompass qui tam claims and (2) public policy does not

otherwise outweigh enforcement of the release. (Doc. 132, at 8); see also United States ex rel.

Radcliffe v. Purdue Pharma L.P., 600 F.3d 319, 329 (4th Cir. 2010); United States ex rel. Ritchie

v. Lockheed Martin Corp., 558 F.3d 1161, 1167–68 (10th Cir. 2009). In addition, Relator concedes

that the first prong has been established here – namely, that the Settlement Agreement does, in

fact, fairly encompass qui tam claims. Instead, Relator argues the second prong is not met because


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the government was unaware of potential FCA claims before Relator executed the release. (Doc.

132, at 8-10). However, the case law cited by Relator is not applicable to the facts present in this

case. Further, noticeably absent from Relator’s argument is the fact that case law additionally

indicates that “[t]he history of the qui tam provisions has largely been one of ‘[s]eeking the golden

mean between adequate incentives for whistle-blowing insiders with genuinely valuable

information and discouragement of opportunistic plaintiffs[.].’” U.S. ex rel. Rabushka v. Crane

Co., 40 F.3d 1509, 1519 (8th Cir. 1994) (emphasis added) (citing U.S. ex rel. Springfield Terminal

Ry. Co. v. Quinn, 14 F.3d 645, 649 (D.C. Cir. 1994)). Public policy is not meant to protect

someone like the Relator who, prior to coming forward with knowledge of alleged fraud, first sold

the Business Defendants to an unsuspecting buyer and profited in an amount nearing $30 million.

In sum, Relator does not deserve the protections of the FCA and the Release should be enforced.

       A.      Public Policy Supports Enforcing the Release.

       The RRSA Defendants agree that, when evaluating whether public policy merits enforcing

the Settlement Agreement and Release in this case, this Court must consider not only the effect of

enforcement on Relator’s case, but on that of all future relators, as well as would-be purchasers of

businesses who execute and rely upon representations and releases such as the ones executed by

the parties in this case, which contractually prohibit Relator from bringing the claims asserted in

this matter. “The right of parties to contract is fundamental, see, e.g., Lochner v. N.Y., 198 U.S.

45, 25 S.Ct. 539, 49 L.Ed. 937 (1905), and the agreement therefore carries with it a strong

presumption of enforceability.” U.S. ex rel. Gebert v. Transp. Admin. Servs., 260 F.3d 909, 916–

17 (8th Cir. 2001) (affirming decision barring qui tam claim pursuant to principles of standing,

settlement and release, and judicial estoppel). In addition, Texas has a strong public policy in




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favor of the freedom to contract.3 See Fairfield Ins. Co. v. Stephens Martin Paving, LP, 246

S.W.3d 653, 664 (Tex. Sup. Ct. 2008). Likewise, the “indispensable partner” to the freedom to

contract is contract enforcement. See id.

          Relator’s representations and warranties that there were no further encumbrances or

charges against the Company that existed at the time she signed the Settlement and Purchase

Agreements were a material term of the Purchase Agreement. (App’x_000036, Declaration of

Corey S. Sanchez, ¶¶ 9, 12, 14; Doc. 122-1, App’x_0026-28). Further, two additional material

terms to the Settlement Agreement were that Mr. Sanchez, Ms. Seymore, Mr. Seymore and the

other RRSA Defendants would be released from any and all claims related to the matters settled,

and Relator would not participate in any further litigation involving the Business Defendants.

(App’x_000037, Declaration of Corey S. Sanchez, ¶¶ 11-12; Doc. 122, App’x_0016). The

Settlement Agreement and Purchase Agreement clearly indicate that the Parties wished to go their

separate ways forever. (App’x_000037, Declaration of Corey S. Sanchez, ¶ 9). Instead, the RRSA

Defendants have been the victims of a seven-year campaign of systematic protracted litigation

perpetrated by the Relator. Not enforcing the Settlement Agreement in this case would strip the

RRSA Defendants of the entire benefit of the contract, while allowing Relator to keep the millions

of dollars she received as a result of the contract and at the same time, escape her contractual

obligations. (App’x_000037, Declaration of Corey S. Sanchez, ¶ 14). Such result would constitute

a material breach of the Settlement Agreement. See Weeks v. Green Tree Servs. LLC, No. 4:15-

cv-00588, 2017 WL 4325797, at *7 (N.D. Tex. Sept. 11, 2017) (“A breach is material if the injured

party does not receive the substantial benefit of the bargain under the contract.”).




3
    Texas law governs the Settlement Agreement. (Doc. 122, App’x_0118).


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       Nearly all the cases relied upon in Relator’s Reply involve a former employee of the

defendant who signed a release as a part of his or her termination after disclosing the fraud against

his or her employer. See United States v. Purdue Pharma L.P., 600 F.3d 319, 322 (4th Cir. 2010);

United States ex rel. Ritchie v. Lockheed Martin Corp., 558 F.3d 1161, 1164 (10th Cir. 2009);

United States ex rel. Bahrani v. Conagra, 183 F.Supp.2d 1272, 1274 (D. Colo 2002); United States

ex rel. Hall v. Teledyne Wah Chang Albany, 104 F.3d 230, 231 (9th Cir. 1997); United States v.

Northrop Corporation, 59 F.3d 953, 956 (9th Cir. 1995); United States ex rel. Class v. Bayada

Home Health Care, Inc., CV 16-680, 2018 WL 4566157, at *1 (E.D. Pa. Sept. 24, 2018). Those

are not the facts present here, and accordingly, different public policy considerations should be

applied. Indeed, in Relator’s reply she states, “[i]t is in the public interest to protect the federal

treasury and ensure the integrity and honesty of those receiving government funds.” (Doc. 132, at

10 (citing Longhi, 481 F.Supp.2d at 818)). Pursuant to the undisputed facts, it was Relator who

was receiving the government funds at the time the alleged fraud occurred. (App’x_000007-08,

¶¶29-30, Plaintiff Tina L. Haight’s Fourth Amended Petition; see First Amended Complaint, ¶185

(Ex.J)). Therefore, in order to “protect the federal treasury from fraud,” the release must be

enforced against the party who received the government funds – in this case, the Relator. Such

result is consistent with the case law cited by Relator, which enforce the settlement agreement

against the party who received the government funds. See Conagra, 183 F.Supp.2d at 1278;

Northrop Corp., 59 F.3d at 963; Bayada Home Health Care, Inc., 2018 WL 4566157, at *11.

       The underlying purpose of the FCA is to “vindicate civic interests in avoiding fraud against

public monies,” not to serve the “parochial” or economic interests of relators. See United States

v. Health Possibilities, P.S.C., 207 F.3d 335, 340–42 (6th Cir. 2000). Failing to enforce a release

entered into by the owner of a company at the time the alleged “fraud against public monies”




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occurred does not “vindicate civic interests,” but instead promotes the “economic interests of

relators” by allowing those potentially guilty of fraud on the United States to insulate themselves

from the reach of the FCA by duping unsuspecting buyers. Such result would directly contradict

the purpose of the FCA. When considering the specific facts of this case, public policy does not

outweigh enforcement of the Release. Defendants’ Motion to Dismiss must be granted.

       B.      The Ninth Circuit’s Opinions in Northrop and Hall do not Apply to the Facts
               of this Case.

       Relator argues that a “contrasting pair of Ninth Circuit cases clearly explain why the

purported Release is unenforceable.” (Doc. 132, at 12). Both of these cases fall squarely within

the fact scenario cited above, involving a former employee of the defendant who signed a release

as a part of his or her termination after disclosing the fraud against his or her employer. See

Northrop Corp., 59 F.3d at 956; Hall, 104 F.3d at 231. Northrop involved employee Michael

Green (“Green”) who, while employed at Northrop, discovered that Northrop had double-charged

the U.S. Air Force for equipment purchased for the B-2 Bomber program. See Northrop Corp.,

59 F.3d at 956. Green filed a complaint in the California Superior Court against Northrop alleging

he was discharged for having brought this information to the attention of certain Northrop officials.

See id. Northrop and Green eventually settled the lawsuit, and entered into a “Settlement

Agreement and General Release,” in which Green agreed to release and forever discharge

Northrop for all claims “arising out of or relating to the [lawsuit] and/or Green’s employment with

and separation from Northrop.” Id.

       Subsequent to the lawsuit being settled, Green filed a complaint under the qui tam

provisions of the False Claims Act. See id. The District Court entered summary judgment in favor

of Northrop, and others, on the basis Green did not have standing. The Ninth Circuit reversed, but

focused on the fact a would-be relator would be more incentivized to settle the claim prior to filing



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a qui tam suit, in which case the government would “retain the lion’s share of the proceeds.” Id.

at 965-66. Hall is based upon similar facts. Christopher Hall (“Hall”) worked as an engineer for

Teledyne Wan Chang Albany (“Teledyne”) from 1978 to 1991. See Hall, 104 F.3d 230, 231 (9th

Cir. 1997). While employed, Hall voiced concerns that tubeshells Teledyne sold to the U.S.

Government did not possess the certified corrosion resistance. See id. Thereafter, Teledyne fired

Hall and Hall initiated a state court action against Teledyne, alleging, among other claims,

retaliatory termination for his whistleblowing related to the defective tubeshells. See id. at 232.

Teledyne and Hall settled the lawsuit, and executed a broadly worded release that Teledyne argued

encompassed the subsequently filed qui tam action by Hall. Therefore, both Northrop and Hall

involved releases that were executed in the context of a pending lawsuit, involving the plaintiff’s

termination of employment from the defendant.

       However, the Settlement Agreement in this case was executed as a part of the purchase of

the Business Defendants by Corey Sanchez, Jennifer Seymore and Jon Seymore from the Relator,

and therefore, the Ninth Circuit’s analysis in both Northrop and Hall does not apply. Indeed, other

courts have declined to follow Northrop in different contexts. See, e.g., United States ex rel.

Gebert v. Transport Admin. Servs., 260 F.3d 909, 916 (8th Cir. 2001) (“[T]he Northrop court

emphasized the point that enforcing the settlement agreement would provide a potential relator

every incentive to settle out-of-court instead of bringing a qui tam claim. We find this argument

has little application to a settlement agreement entered into in a bankruptcy proceeding.”). Further,

the Ninth Circuit’s decisions in Northrop and Hall “must be regarded merely as data points on the

broad spectrum of the Rumery federal common law test.” United States ex rel. Longhi v. Lithium

Power Tech., 481 F.Supp.2d 815, 820 (S.D. Tex. 2007). The facts of this case merit further

analysis than simply deciding the public policy prong on whether the Government was aware of




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the alleged fraud prior to the execution of the release. Neither Northrop or Hall, nor any other

case cited in Relator’s Reply, involve a release whereby the releasing party would have been the

defendant in the qui tam suit but for the release. Further, the Release in this case was executed

as a part of a business transaction worth nearly $30 million, not as a part of a separate lawsuit

(App’x_000036-37, Declaration of Corey S. Sanchez, ¶¶ 7-14).

       The Ninth’s Circuit’s refusal to enforce the release in Green turned on the “public interest

in learning about claims of government contractor fraud[.]” Hall, 104 F.3d at 233. However, this

public interest should not be taken so far as to permit a would-be defendant to turn into a qui tam

realtor. Relator is not the kind of person the FCA seeks to “empower and shelter,” but instead she

is like the “opportunistic plaintiff” coming forward with alleged fraud only after she profited in

the amount nearing $30 million. See Longhi, 481 F.Supp. at 821; United States ex rel. Poteet v.

Medtronic, Inc., 552 F.3d 503, 507 (6th Cir. 2009).

       C.      The Alleged Qui Tam Claims are Not Future Claims.

       The Release included “any and all manner of actions” that “arise out of or are in anyway

related to the Disputes, the Relationship, the Equity.” (Doc. 122, App’x_0013). The “Disputes”

include anything relating to the operation of the Companies, including the Business Defendants.

See id. Relator attempts to argue that because Relator was allegedly unaware of the qui tam claims

in 2014, the Disputes had not “arisen” and are therefore not encompassed by the Settlement

Agreement or Release. (Doc. 132, at 15). However, the Release includes claims “known or

unknown” at the time of its execution. (Doc. 122, App’x_0013). Relator’s claims in this action

involve the operational activities of the Business Defendants that occurred prior to the execution

of the Settlement Agreement. (Doc. 104, First Amended Complaint, ¶¶166-68, 172, 182-85 (Ex.

J), 196-97, 212-15 (Ex. L), 226, 228-33, 244, 250-51). Therefore, whether Relator was aware of




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the qui tam claims in 2014 is irrelevant, and the claims asserted in the First Amended Complaint

fall squarely within the Release

         Finally, the case law cited by Plaintiff in support of her proposition that “parties cannot

prospectively release claims for intentional torts” are inapposite, as again, Relator’s claims in this

action involve activities that occurred prior to the execution of the Settlement Agreement. See

id.4 Furthermore, Relator’s argument completely ignores the fact that Relator also executed a

Covenant Prohibiting Other Actions that does not release future claims, but bars Relator from

“participat[ing] in, assist[ing] with, submit[ing], fil[ing] or permit[ing] to be filed on their behalf

any claim or lawsuit related to the Disputes.” (Doc. 122, App’x_0016). See, e.g., Dallas Gas

Partners, L.P. v. Prospect Energy Corp., 733 F.3d 148, 158 (5th Cir. 2013) (upholding finding of

liability based on breach of release and covenant not to sue); Parker v. ClubCorp USA, Inc., No.

3:08-CV-1887-P, 2010 WL 11618392, at *2 (N.D. Tex. Oct. 25, 2010) (finding release and

covenant not to sue enforceable). Relator’s claims are barred by the Release and Covenant

Prohibiting Other Actions and Defendants’ Motion to Dismiss must be granted.

         D.        The Alleged Regulatory Non-Compliance and Fraudulent Conduct all
                   Occurred Prior to the Execution of the Release.

         Relator’s sole allegation that any regulatory non-compliance occurred after the execution

of the Release is Exhibit A to the First Amended Complaint, which purportedly shows that RRSA

(Commercial) certified on the SAM registry that it was a small business. See Relator’s Response,

p.14 (Doc 132, at 18 (citing Doc. 104, ¶119-120, Doc. 104-1, at 61)). However, Exhibit A is

inconsistent with the RRSA (Commercial)’s Federal Acquisition Regulation Report from RRSA



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  Although the First Amended Complaint alleges wrongdoing “from at least 2011 to the present” (Doc. 104, ¶265),
the specific allegations of fraud relate to contracts entered into prior to December 2013. (Doc. 104, ¶185, Ex. J; see
also ¶¶166-68, 172, 182-84, 196-97, 212-15 (Ex. L), 226, 228-33, 244, 250-51). In the event this Court finds that any
of Relator’s Claims relate to activities after the execution of the Release, those claims that relate to activities prior to
June 6, 2014, should be dismissed due to Relator’s lack of Article III standing.


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(Commercial)’s SAM account dated January 24, 2018. (Doc. 123-1, at 22, Declaration of Jon R.

Seymore in Opposition to Plaintiff-Relator Tina Haight’s Motion to Compel, ¶6, Doc. 123-1, at

29). Relator further argues that “[t]he first Amended Petition also contains allegations of false

statements and a fraudulent course of conduct” outside the SAM certifications. See Relator’s

Response, p. 14 (Doc. 132, at 18). However, the allegations cited by Relator related to conduct

prior to the execution of the Release,5 and thus Relator lacks standing to assert these claims.

Defendants’ Motion to Dismiss must be granted.

III.     CONCLUSION

         Based on the foregoing, as well as those arguments and authorities set forth in Defendants

RRSA (Commercial Division), LLC; Roofing & Restoration Services of America, LLC; RRSA

Commercial Roofing, Inc.; Haight Construction Management Services, Inc.; Corey S. Sanchez;

Jon R. Seymore; Jennifer N. Seymore and Ronald Scott Nichols’ Motion to Dismiss Relator Tina

Haight’s First Amended Complaint, Defendants respectfully request that their Motion to Dismiss

be granted.




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  Again, in the event this Court finds that any of Relator’s Claims relate to activities after the execution of the Release,
those claims that relate to activities prior to June 6, 2014, should be dismissed due to Relator’s lack of Article III
standing.


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     Dated: March 22, 2021

                                  Respectfully submitted,

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                                  R. SEYMORE; JENNIFER N. SEYMORE AND
                                  RONALD SCOTT NICHOLS.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 22, 2021, a true and correct copy of the foregoing document
was served upon all counsel of record via the Court’s CM/ECF filing system as indicated below:

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